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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 In re
                                                                    MASTER DOCKET
 CUSTOMS AND TAX ADMINISTRATION
 OF THE KINGDOM OF DENMARK                                     Case No. 1:18-md-02865-LAK
 (SKATTEFORVALTNINGEN) TAX
 REFUND SCHEME LITIGATION,

 This document relates to: 1:18-cv-05053



         THIRD-PARTY DEFENDANT ED&F MAN CAPITAL MARKETS, LTD.’S
                     MOTION FOR A PROTECTIVE ORDER


         Third-Party Defendant ED&F Man Capital Markets, Ltd. (“ED&F”) hereby moves for an

order protecting it from being required to respond to the Requests for Production of documents that

the Plaintiff Skatteforvaltningen (“SKAT”) served on ED&F's New York counsel on September 30,

2019 (attached as Exhibit 1). In support, ED&F states as follows:

                                         BACKGROUND

         1.    ED&F was brought into this action as a third-party defendant through the Third-Party

Complaint of Defendants-Third Party Plaintiffs Goldstein Law Group PC 401(K) Profit Sharing Plan

and Sheldon Goldstein (collectively, the “Goldstein Defendants”) which was served on May 22, 2019.

The sole cause of action alleged against ED&F is a vague claim for breach of contract against a foreign

corporation.

         2.    ED&F moved on August 5, 2019 to dismiss the Goldstein Defendants’ third-party

complaint on the grounds that this Court does not have personal jurisdiction over ED&F and on

grounds of forum non conveniens or in the alternative for a stay pending the outcome of related




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proceedings in London (the "English Action") to which both ED&F and SKAT are parties. (Dkt.

74). ED&F’s motion to dismiss has been fully briefed and is awaiting a ruling from the Court.

       3.      SKAT has asserted no claims against ED&F in this multi-district action. Instead,

SKAT initiated an action against ED&F and other defendants in the United Kingdom on May 4, 2018.

The English Action, which is ongoing, arises from the same factual circumstances as those raised in

this matter. (Declaration of Luther Kisanga).

                                           ARGUMENT

       4.      A party, for good cause, may seek a protective order to preclude discovery “to protect

a party or person from annoyance, embarrassment, oppression, or undue burden or expense.” Fed.

R. Civ. P. 26(c). A party can show good cause by setting forth “particular and specific facts” as to

why protection is necessary. See Kent v. The New York State Public Employees Federation, AFL-CIO, 2019

WL 457544, *1 (S.D.N.Y. Feb. 5, 2019). ED&F has good cause because (1) the Court has no personal

jurisdiction over ED&F, and therefore requiring it to respond to discovery prior to a decision on the

motion to dismiss would result in significant and unnecessary burden and expense, and (2) SKAT is

inappropriately attempting to circumvent the disclosure rules in England by issuing discovery pursuant

to the Federal Rules in this court that bears only on the English Action.

       5.      ED&F should not be subjected to the burdensome and needless discovery requests

SKAT has served upon it until this Court has determined whether it has personal jurisdiction over

ED&F. The Goldstein Defendants’ third-party complaint fails to allege any basis for the Court to

exercise its jurisdiction over ED&F. The contracts that are the subject of the purported breach of

contract claim have no bearing on the underlying claims brought by SKAT, and only bear on the

relationship between ED&F and the Goldstein Plan. These agreements were executed, delivered, and

performed by ED&F exclusively in the United Kingdom, and explicitly identify England as the

governing law and forum.



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        6.      The Goldstein Defendants do not allege that ED&F has any contacts with the forum

state, much less the sufficient minimum contacts required to establish personal jurisdiction. Instead,

the only basis the Goldstein Defendants assert for the Court’s jurisdiction is the underlying claims

brought voluntarily in this forum by SKAT against the Goldstein Defendants—not ED&F.

        7.      Given the Court’s lack of personal jurisdiction over ED&F, and ED&F’s pending

motion to dismiss on that basis, it would be inappropriate to subject ED&F to discovery in this case.

See e.g., Dietrich v. Bauer, 2000 WL 1171132, at *2 (S.D.N.Y. Aug. 16, 2000) (“[A] district court has the

power to impose discovery . . . when it has personal jurisdiction over the foreign party.”) (emphasis added);

City of New York v. FedEx Ground Package Sys., Inc., 2018 WL 4625765, *3 (S.D.N.Y. Sept. 26, 2018)

(finding a stay of discovery appropriate in light of pending dispositive motion). Moreover, SKAT’s

discovery is unquestionably directed to the merits of its claims against ED&F at issue in the English

Action, where the court has unquestioned jurisdiction. Requiring ED&F to engage in discovery,

despite the lack of jurisdiction, would result in significant and unnecessary burden and expense and is

improper.

        8.      SKAT’s discovery is also inappropriate because SKAT has no claims against ED&F

in this action. Thus, SKAT’s discovery is an attempt to compel ED&F, via the back door, to produce

documents in the United States for use in the English Action where SKAT and ED&F are well along

negotiating the scope of discovery in accordance with the English Court Rules (see Declaration). Such

an attempt is an abuse of discovery in this Court, and would result in a clear and serious injury to

ED&F. Good cause therefore exists for this Court to enter the protective order requested.

                                                          Respectfully submitted,

Dated: October 18, 2019                                            Akerman LLP

                                                          By: /s/ Brian S. Fraser
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                               CERTIFICATE OF SERVICE

       I hereby certify that on October 18, 2019 a true and correct copy of Third-Party Defendant

ED&F Man Capital Markets Ltd.'s Motion for a Protective Order was served on all counsel of

record, by electronic filing on the CM/ECF filing system.


                                                    /s Brian S. Fraser
                                                    Brian S. Fraser
